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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                        SAN JOSE DIVISION

                                   6

                                   7     ROTHSCHILD PATENT IMAGING LLC,                   Case No. 22-cv-01937-BLF
                                   8                    Plaintiff,
                                                                                          ORDER DIRECTING PLAINTIFF TO
                                   9             v.                                       FILE MOTION FOR DEFAULT
                                                                                          JUDGMENT BY NO LATER THAN
                                  10     IQ LOGIC, INC.,                                  JUNE 9, 2023
                                  11                    Defendant.

                                  12
Northern District of California




                                              On May 16, 2022, the clerk entered default against IG Logic, Inc., the sole defendant in
 United States District Court




                                  13
                                       this case. ECF No. 14. Plaintiff is hereby DIRECTED to file a motion for default judgment by no
                                  14
                                       later than June 9, 2023.
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                                              IT IS SO ORDERED.
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                                  17
                                       Dated: May 9, 2023
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                                  19                                                  BETH LABSON FREEMAN
                                                                                      United States District Judge
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